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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT NEW YORK

 

KYLE DONOVAN,
Plaintiff,
-against-

EAST TWELFTH STREET HOUSING

DEVELOPMENT FUND COPORATION,

Defendant.

 

18 Civ. 06950

MEMORANDUM IN OPPOSITION TO PLAINTIFF’S
MOTION FOR A TEMPORARY RESTRAINING ORDER

Michael Schvvartz
M. Schwartz haw, P.C.

330 West 38"‘ Street, Suite 1204
New York, New York 10018

(212) 966-7439

michelel(ZDmichaelschwartzesq.cc)m

Counsel for Defendant

East Twelfth Street Tenants Housing
Development Fund Corporation

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I. BACKGROUND AND FACTS

This memorandum is submitted in opposition to plaintiff Kyle Donovan’s
(“Donovan”) motion seeking the issuance of a temporary restraining order enjoining and
restraining defendant East Twelfth Street Housing Development Fund Corporation (the
“HDFC”) from approving of any sale of Apartment MW located at 527 East 12th Street,
New York, New York 10009 (the “Apartment”) pending a hearing on plaintiff Donovan’s
forthcoming motion for a preliminary inj unction.

Defendant HDFC is a housing company organized and operating pursuant to
Article XI of the Private Housing Finance Law of the State of New York (the “PHFL”)
(Annexed hereto as Exhibit A is a copy of the HDFC’s Certificate of Incorporation). The
HDFC was incorporated in calendar year 1983. The buildings comprising the premises
were deeded to the HDFC by the City of New York, acting through the New York City
Department of Housing Preservation and Development (“HPD”), on or about February
1983. HPD does not have any ownership interest with respect to the HDFC as the
building was deeded to the HDFC and the tenants that were then in occupancy purchased
the shares appurtenant to their respective apartments on or about the same date. HPD
does maintain any presence on the grounds owned and operated by the HDFC.

The HDFC is the owner and cooperative landlord of the Apartrnent. The HDFC’s
governing corporate documents include the above referenced Certificate of lncorporation,
Corporate By~laws and Proprietary Lease Agreements that are issued to every tenant-
shareholder (Annexed hereto as Exhibit B and Exhibit C, respectively, are copies of the
HDFC’s By-laws and form Proprietary Lease Agreement). There is no Offering Plan for

the HDFC as the Attorney General of the State of New York issued a “no action” letter

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prior to its incorporation The HDFC is governed by a Board of Directors (the “Boarcl”)
that is elected on an annual basis by the shareholders of the HDFC. 'l`he Board of the
HDFC is comprised solely of shareholders HPD does not have any representative on the
Board and HPD does not have any authority and/or control over the actions of the Board.
The Board has complete independence from HPD when it comes to making decisions
over whether to approve applicants to purchase units within the buildings owned by the
HDFC. The Board is only required, as every other cooperative corporation, to act in
accordance with its governing corporate documents
II. PLAINTIFF’S ALLEGATIONS
A preliminary injunction requires it’s proponent to show: (l) “a likelihood of
success on the merits or sufficiently serious questions going to the merits to make
them a fair ground for litigation and a balance of hardships tipping decidedly in the
plaintiffs favor”; (2) a likelihood of “irreparable injury in the absence of an injunction”;
(3) that the balance of the hardships tips in the plaintiffs favor”; and (4) that the “public
interest would not be disserved.” See Benihana, Inc. v. Benl'hcma of Tokyo, LLC, 784 F.3d
887, 894-95 (2d Cir. 2015) The crux of plaintiff Donovan’s allegations is that housing
development fund corporations are so intertwined with state government that, in denying
plaintiff Donovan’s application, defendant HDFC was acting under the color of state law
and is subject to 42 U.S.C. 1983. For the reasons set forth hereinbelow, this argument
must fail.
A. Plaintiff Cannot Demonstrate a Likelihood of Success on the lVIerits
Plaintiff has failed to demonstrate that there is a probability of prevailing on the

merits that is greater than fifty percent or that there are sufficiently serious questions

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going to the merits to make them a fair ground for litigation and that the balance of
hardships tips decidedly in plaintiffs favor.

In support of his claim for injunctive relief, plaintiff alleges the following: that
plaintiff Donovan executed a contract with the seller of the Apartment; that plaintiff
Donovan is an African-American male; that plaintiff Donovan agreed to pay cash for the
Apartment; that plaintiff Donovan submitted an application for the purchase of the
Apartment to defendant HDFC; that defendant HDFC failed to review plaintiffs
Donovan’s application, interview plaintiff Donovan or provide a reason for denying
plaintiff Donovan’s application; and that plaintiff Donovan’s real estate broker was told
by the seller’s real estate broker that the defendant HDFC rejected plaintiff Donovan’s
application after conducting a search using google.com. Plaintiff Donovan thenjumps to
the conclusion that this purported search revealed that plaintiff was an African American
male and that this is the reason that defendant HDFC denied plaintiffs application, ln
order to fit plaintiffs claims within the ambit of 42 U.S.C. 1983, plaintiff Donovan also
alleges that defendant HDFC is a state actor and/or was acting under color of state law in
rejecting plaintiff Donovan’s application Of note is the fact that plaintiff Donovan has
offered this Court no federal case citations in support of this claim. Rather, plaintiff
Donovan has rested his argument that the defendant HDFC is a State actor on a New
York State Appellate Court decision and various New York City Civil Court decisions,
i.e. landlord-tenant court.

i. Defendant is not a State Actor
Plaintiff Donovan’s allegation that defendant HDFC is a state actor or has acted

under color of state law is completely devoid of any merit. ln Young v. Halle Housing

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Associates, L.P., 152 F. Supp. 2d 355 (S.D.N.Y. 2001), the court specifically addressed
the applicability of 42 U.S.C. to a housing corporation that was subject to extensive
government regulation and that benefited extensively from government funding, the issue
that has been presented by plaintiff Donovan in the instant action. ln Young, the Court,
citing Jackson v. Metro. Edl`son Co., 419 U.S. 345 (1974), held that there could be no
finding of state action where the defendant State Municipality did not know of and/or
approve of the actions of the defendant apartment corporation or where the State
Municipality did not compel or influence the behavior of the defendant apartment
corporation by the regulatory scheme under which it was governed. The Young Court
further held that the provision of low income housing was not state action because the
provision of low cost housing was not in the exclusive control of the State and was not a
power “exclusively associated with sovereignty” and which was delegated to a private
actor.

As set forth hereinabove, third party HPD has no authority over the Board of
defendant HDFC in accepting or rejecting applicants HPD does not have a representative
on the Board of defendant HDFC and, therefore, has absolutely no knowledge with
respect to the actions taken by defendant HDFC. The Board of the HDFC made a
completely autonomous decision with respect to the rejection of plaintiff Donovan in the
purchase of the Apartment. There is absolutely no cognizant argument that can be made
that defendant HDFC is a state actor that is subject to 42 U.S.C. 1983.

ln an attempt to advance the argument that the defendant HDFC is a state actor
within the ambit of 42 U.S.C. 1983, plaintiff Donovan relies heavily upon 512 East 11"'

Streel HDFC v. Grimmet, 181 A.D.2d 488 (lSt Dept. 1992). Annexed hereto as Exhibit D

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is a copy of the decision This reliance is without merit. The Grimmet decision stands for
the proposition that post-conversion tenants in housing development fund corporations
(cooperatives) are not entitled to the protections of the Rent Stabilization law. The
Grimmet decision also stands for the proposition that month to month tenants in HDFC
cooperatives are entitled to a reason for any proposed eviction even if said tenants have
no lease agreement I note that the decision cites provisions of 512 East 11th Street
HDFC’s Certificate of Incorporation that are not present in defendant HDFC’s Certificate
of Incorporation, i.e. defendant HDFC does not need the permission of HPD to evict a
tenant or to reject an applicant for admission to the cooperative Grimmet is inapplicable
to this matter for the reasons stated in the Young decision Plaintiff Donovan also relies
upon a 2014 article from the New York Times, writhe with generalities regarding housing
development fund corporations and an unpublished landlord-tenant case, 601 Wesl 136"'
Street v. Olivares, 2014 NY Slip. Op. 31474, P.2 (Civ. Ct. NY County 2014) to advance
the proposition that defendant HDFC is a state actor and/or acting under color of state
law. Even if this Court takes Oll`vares on its face, the fact pattern presented in that
proceeding is completely divergent from the fact pattern of the instant action
Furthermore, even if these decisions do stand for the propositions of law that plaintiff
Donovan is advancing, they are clearly not binding on this Court. For these reasons, the
complaint underlying this action must fail as a matter of law.
ii. Cooperatives D0 Not Have to Offer Reasons for Rejecting an Applicant
There is no dispute that defendant HDFC denied plaintiffs “finalized, detailed
application”. There is also no dispute that defendant HDFC did not provide a reason for

the denial of plaintiff Donovan’s application However, conspicuously absent from

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plaintiff Donovan’s Memorandum of Law are any cases, city, state or federal and/or city,
state and/or federal statues, rules, laws or regulation that require cooperatives to offer a
reason for denying an application

iii. No Basis for Claim of Discrimination

Even more troubling is the fact that plaintiff Donovan’s counsel makes bald
assertions regarding purported racial discrimination by the HDFC without any affidavits
from persons with first-hand knowledge of anything alleged by plaintiff In fact, the only
basis provided by plaintiff with respect to his allegations of discrimination is the
following: Plaintiffs broker was subsequently told by his broker that the Board did not
“like” what it saw when it ran a search of plaintiffs name on www.google.coni. When a
search for plaintiffs name is done via google, images of Plaintiff show him to be an
African-American male. See Page 4 of plaintiffs Memorandum of Law.

First, there are no affidavits attached to plaintiffs moving papers to substantiate
any of the claims of discrimination made by plaintiff Conversely, annexed hereto as
Exhibit E of defendant HDFC’s moving papers is an affidavit from Board Member,
Makini Velasquez which sets forth the diverse ethnic, racial and cultural composition of
the shareholders and renters who comprise the HDFC. Moreover, even assuming, in
arguendo, that defendant HDFC did conduct a search of plaintiff Donovan on the
internet, it is a leap to make any claims of discrimination based upon such a search.

Finally, plaintiff provides no evidence whatsoever that the Board of the defendant
HDFC failed to consider plaintiff Donovan’s application and/or that the application was
considered but was denied because of plaintiffs race. Plaintiffs allegations are

completely frivolous in all respects When there is no evidence that supports the

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allegations made in a motion, the relief requested in the motion should not be granted
Johnson v. Burge et al. (2nd Cir. 2012).
iv. No Prima Facie Showing of Discrimination

Plaintiff has failed to establish a prima facie showing of discrimination There is
no evidence in the record that establishes defendant HDFC conducted an internet search
and made a finding with respect to plaintiffs race and/or ethnicity. Further, although
counsel refers to alleged statements made by real estate brokers regarding this purported
internet search, there are no affidavits attached to plaintiffs moving papers attesting to
these facts. Additionally, agreeing to pay all cash for a unit does not make you a person
qualified to purchase said unit. As noted by plaintiff throughout his motion papers, there
are income restrictions for potential shareholders in defendant HDFC. Plaintiff cannot
demonstrate that he was qualified to purchase an income restricted apartment without, at
the very least, annexing a copy of his application to his moving papers. l\/Ioreover,
plaintiff has not offered any evidence that defendant HDFC failed to consider his
application Finally, defendant HDFC is under no legal obligation to proffer a reason for
the denial of an applicant. For these reasons, plaintiff has failed to show a likelihood of
success on the merits.

B. No Danger of Irreparable Injury

First, it should be noted that plaintiff Donovan repeatedly refers to shares in a
corporation as real property when such shares are not real property. However, even if this
Court were to treat shares in a cooperative corporation as real property, plaintiff has
failed to demonstrate that he will suffer irreparable injury should this Court fail to grant

plaintiff Donovan’s request for preliminary relief. Neither plaintiff, nor plaintiffs

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counsel, have offered any evidence or specifics with respect to this cooperative unit and
its uniqueness and/or that any loss of this unit cannot be compensated by money
damages ln fact, the underlying complaint seeks only money damages This in and of
itself is proof that plaintiff will be able to be compensated by money damages should he
prevail on the merits of the underlying complaint Accordingly, there is no basis for the
argument that any injury cannot be compensated by money damages Finally, while
plaintiff Donovan is seeking an injunction barring the HDFC from taking any action with
respect to the of sale subject Apartment, plaintiff is not seeking specific performance or a
declaratoryjudgment with respect to the Apartment. There is no need for the injunction
plaintiff is seeking because it is inapposite to the ultimate relief plaintiff is seeking,
money damages and not the apartment l also note that any injunction issued by this court
would adversely affect the owner of the subject Apartment when said owner has not had
any opportunity to be heard. Accordingly, there is no danger of irreparable injury.

C. The Balance of Hardships tips in Defendant’s Favor and the Public
Interest Favors Defendant

The potential hardship faced by the Defendant if the requested limited injunction
were issued would be great, lengthy and not tailored to the issues presented in plaintiff
Donovan’s complaint The building which has a function to operate and provide
affordable housing would be unable to authorize the transfer of shares and assign a stock
and lease to an incoming shareholder for the apartment at issue in this litigation This
presents a hardship to the defendant HDFC by virtue of the fact that it is dependent upon
the collection of a flip tax upon the sale of any unit. Then collection of this flip tax is of

great importance as it allows the defendant HDFC to maintain the rents and maintenances

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affordable for its shareholders The process by which the HDFC determines and approves
the sale of apartments is essential to its function as a corporation and any injunction
would hamper and severely restrict the HDFC’s ability to effectively operate and perform
its functions The HDFC is entitled to screen and approve persons who wish to become

members of the corporation

The public interest is served by safeguarding the integrity and rights that
cooperative boards possess in approving and denying potential buyers and performing the
board's essential functions When a party to litigation makes unsubstantiated claims and
those claims are then used as a means of preventing a proper board function, the public
interest is not well served. In fact, any injunction would limit the seller’s ability to sell the
subject Apartment to a low income individual and/or individuals F or these reasons the
equities weigh heavily in favor of defendant HDFC and the public interest would be

better served if an injunction did not issue.

III.PLAINTIFF SHOULD POST B()ND IF RELIEF IS GRANTED

lt is respectfully submitted that plaintiff Donovan be required to immediately post
bond should this Court grant plaintiffs request for preliminary relief. Contrary to
plaintiffs assertion, defendant HDFC will suffer injury Should a bond not be ordered. In
this respect, if the HDFC is precluded from entertaining additional applications it will be
precluded from collecting a flip tax from the sale of the unit. The flip tax is calculated at
20% of the profit realized from the sale. While plaintiff claims that no harm will accrue

to the defendant should a bond not issue, he fails to address the fact that plaintiff s

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underlying Coniplaint does not seek a declaratory judgment or any affirmative request

that the Court order a sale of the unit
IV. CONCLUSION

Defendant HDFC is not a state actor. Further, plaintiff has failed to demonstrate a
likelihood of success on the merits; a danger of irreparable injury that cannot be
compensated by money damages; that the balance of the equities weigh in favor of
plaintiff; and/or that the public interest will be served by the issuance of an injunction
For these reasons, it is respectfully requested that plaintiffs request for injunctive relief

be denied in its entirety.

DATED; Augusi 14, 2018 %// /
‘/" /\/`

Michael Schw`artz

M. Schwartz Law, P.C.

330 Weet 38“‘ sireer, suite 1204
New York, New York 10018

(212) 966-7439
michael@michaelschwartzesq.com
Counsel for Defendant

East Twelfth Street Tenants Housing
Development Fund Corporation

 

